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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION



                 INSTRUCTIONS FOR CASES ASSIGNED TO
                    THE HONORABLE STEVE C. JONES




This matter has been assigned to the Honorable Steve C. Jones. The purpose of this
order is to inform the parties and their counsel of the Court’s policies, practice, and
procedure. Pro se litigants shall also govern themselves in accordance with these
instructions. This order, in combination with the Northern District’s Local Rules
and the Federal Rules of Procedure, shall govern this case. Any previous
instructional order is hereby superseded.
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   I.     GENERAL MATTERS

      Attorneys and pro se litigants appearing in this court in civil litigation must
observe three sets of rules:

   1. The Federal Rules of Civil Procedure. These rules are available at
      http://www.uscourts.gov/rules-policies/current-rules-practiceprocedure.

   2. The local rules of this District Court and Instructions Regarding Pretrial
      Proceedings. The local rules of this Court are available for downloading at
      http://www.gand.uscourts.gov/local-rules. Various forms and the Court’s
      pretrial      instruction        package        are        available     at
      http://www.gand.uscourts.gov/rules-standing-orders-forms.

   3. The rules and practices of the district judge, and magistrate judge if
      appropriate, assigned to your case, including this standing order.

   II.    CASE ADMINISTRATION

          A.     Contacting chambers

      Courtroom Deputy Clerk Pamela Wright is your principal point of contact
on matters relating to this case. Neither the parties, nor their counsel, should
discuss the merits of the case with Ms. Wright or any of the Court’s law clerks.
Ms. Wright’s contact information is as follows:

               Ms. Pamela Wright
               Courtroom Deputy Clerk
               1967 United States Courthouse
               75 Ted Turner Drive, SW
               Atlanta, Georgia 30303-3309

               pamela_wright@gand.uscourts.gov
               404-215-1284

          B.     Courtesy copies

       Except for emergency motions filed pursuant to Local Rule 7.2(B), the
delivery of a hard copy of a document, in addition to the electronically filed copy,
is not necessary, as the Court prefers to rely on its electronic access to court filings.

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The Court may, however, request courtesy copies of motions with voluminous
exhibits.

     Courtesy copies of such motions should be hand-delivered to chambers in
Room 1967 on the 19th floor of the Richard B. Russell Federal Building or
submitted via regular mail to the attention of the Courtroom Deputy Clerk at the
above-provided address. The courtesy copies provided shall be stamped filed with
the CM/ECF (Case Management/Electronic Case Filing) header.

         C.     Admission of counsel pro hac vice

       In the event that lead counsel has been admitted pro hac vice, local counsel is
required to be familiar with the case and may be called upon to attend hearings or
participate in conferences on behalf of the lead counsel.

       All counsel, including counsel admitted pro hac vice, must register with and
participate in the Court’s electronic filing system, CM/ECF. NDGa Standing
Order 04-01.

         D.     Withdrawal or substitution of counsel

       It is counsel’s responsibility to keep the Court informed of any change of
status. Counsel should comply with Local Rule 83.1, NDGa, when substituting or
withdrawing as counsel. Attorneys who fail to comply with this Local Rule will
not be permitted to withdraw from the case until compliance is achieved.

         E.     Pro se litigants

       Parties proceeding pro se (without an attorney) are ADVISED that they
must comply with the Federal Rules of Civil Procedure (“Fed. R. Civ. P.”), as well
as the Local Rules of the United States District Court for the Northern District of
Georgia (“LR, NDGa”). Pro se parties may obtain certain basic materials and hand-
outs from the Office of the Clerk of Court located on the 22nd Floor of the United
States Courthouse, 75 Ted Turner Drive, S.W., Atlanta, Georgia. Many documents
are also available on the Court’s website at www.gand.uscourts.gov. Pro se
litigants may also utilize the law library located on the 23rd floor of the United
States Courthouse at the above-provided address.




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   III.   CASE MANAGEMENT

          A.    Motions for temporary restraining order or preliminary
                injunction

       Any request for a temporary restraining order (“TRO”) or for preliminary
injunctive relief must be made by a separate motion. A request for a TRO or
preliminary injunction found only in the complaint will not be considered. After
filing an appropriate motion, the movant must contact Ms. Wright to request
expedited consideration.

      Any motion for TRO or preliminary injunction which requests injunctive or
equitable relief should be accompanied by a proposed order.

          B.    Extensions of time

       Motions for extension, whether joint, unopposed, or designated as consent,
will not be granted as a matter of course. The Court expects parties seeking an
extension to submit motions as early as possible and to avoid last-minute requests
for extensions.

       Parties seeking an extension should explain with specificity the
unanticipated or unforeseen circumstances necessitating the extension and should
set forth a timetable for the completion of the tasks for which the extension is
sought. Parties should indicate whether opposing counsel consents to the
extension. A proposed order should also be provided.

          C.    Page limit extensions

       Parties seeking an extension of the page limit must do so at least five (5)
days in advance of their filing deadline and should explain with specificity the
reasons necessitating the extension. If a party files a motion to extend the page
limit at the same time his or her brief is due, the extension request will be denied
absent a compelling and unanticipated reason for violating the Rule.

          D.    Objections to Magistrate Reports and Recommendations

     Absent prior permission of the Court, objections to magistrate report and
recommendations and opposing party responses are limited in length to twenty-

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five (25) pages. Said objections and responses shall also comply with the
formatting requirements of Local Rule 5.1, NDGa.

          E.      Discovery disputes and objections to discovery

       Prior to filing a motion to compel discovery and only after conferring with
opposing counsel in a good faith effort to resolve the discovery dispute by
agreement, an attorney (or pro se litigant) must contact Ms. Wright and notify her
that there is a discovery dispute. Ms. Wright will then schedule a conference call
or videoconference in which the Court will attempt to resolve the matter, without
the necessity of a formal motion. This conference call or videoconference will be
taken down by a duly appointed court reporter. The Court is usually available by
telephone to resolve objections and disputes that arise during depositions.

       A party shall not include in its response to a discovery request a “Preamble”
or a “General Objections” section stating that the party objects to the discovery
request “to the extent that” it violates some general discovery rule, e.g., the
attorney-client privilege, the work product doctrine, or the prohibition against
discovery requests that are vague, ambiguous, overly broad, or unduly
burdensome. Instead, each individual discovery request must be met with specific
objections which apply to each request. Any general objections shall be
disregarded by the Court.

          F.      Motions to seal

       As a general matter, this Court will seal only those items enumerated in the
Court’s Standing Order 04-02 regarding sensitive information and public access to
electronic case files. If a party has very good cause to request sealing of material
marked or identified as “CONFIDENTIAL,” 1 said party, after notification to the
opposing party, may file a motion to seal in accordance with the Court’s
Procedures for Electronic Filing Documents Under Seal, located in Section II(J) of
Appendix H to the Local Rules of the Northern District of Georgia. 2 After entry on



1  As further clarification, the Court notes that a mere reference or discussion of
confidential information does not warrant the entire document and all attachments to be
filed under seal. Instead, the Court will seal (or allow parties to file in a redacted format)
only very specific portions of documents that contain or refer to confidential information.
2 The Procedures for Electronic Filing Documents Under Seal only apply to attorneys.

All pro se parties must manually file a motion to seal at the Clerk’s Office. The material
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the docket, the Court will review the material in camera and decide whether to
grant or deny the motion to seal.

          G.     Electronic filing of exhibits and attachments

       Parties should make every effort to label all electronically uploaded exhibits
and attachments according to their content to assist the Court in making its ruling.
For example, documents should be uploaded with file names such as “Ex. A: Smith
Deposition,” “Ex. B: Employment Contract,” and “Ex. C: Jones Letter,” rather than
letter or number identifiers only.

      Individual exhibits should be uploaded as separate attachments with file
names labeled accordingly. Parties should not upload voluminous attachments
that contain multiple exhibits. For example, a motion for summary judgment
should not be accompanied by one large attachment that contains all exhibits being
proffered in support of that motion. Instead, a party should upload the motion as
the main document, with the brief, statement of material facts, and supporting
exhibits all attached separately and labeled with files names as directed above. 3
Should a party’s attachments prove too difficult to navigate, the Court may require
the party to refile the motion, brief, and corresponding attachments.

        When a party proffers deposition testimony in support of or in opposition
to a motion, the party shall submit excerpts of the specific pages referenced and
any surrounding pages necessary to provide context for cited passages in a text-
searchable PDF format. 4 The party should not attach to the brief a copy of the
entire deposition transcript unless the entire transcript is less than thirty (30)
pages. All excerpts from one person’s deposition shall be submitted as one
attachment. The entire deposition transcript is to be filed separately under a notice
of filing original deposition transcript.




subject to the seal request should be attached as an exhibit to the motion. The Clerk will
enter the motion on the docket under a provisional seal, without public viewing access.
3 Further, while the Court does not require parties to include a table of contents,

identifying exhibit pages, or exhibit stamps on documents, the Court advises parties that
such additions likely will assist the Court in reviewing submitted materials.
4 The Court advises parties that scanned copies of documents are unlikely to conform

with this requirement.
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            H.       Brief titles

      Briefs should be titled on CM/ECF as follows: The initial brief of a movant
should be titled “Brief in Support of [state the motion].” The brief of the
responding party should be titled “[name of respondent]’s Response in
Opposition to [state the motion].” The reply of the moving party should be titled
“Reply in Support of [state the motion].” Though surreplies should not be filed in
the normal course, if the Court authorizes a surreply, it should be titled “[name of
party filing the surreply]’s Surreply to [name of motion].”

            I.       Motions for summary judgment

       All citations to the record evidence should be contained in each party’s brief,
not just in the party’s statement of undisputed (or disputed) facts. The party shall
include in the brief, immediately following the evidentiary reference, a citation
indicating the paragraph, page, and/or transcript line numbers (if applicable)
where the referenced evidence can be found. If a party fails to cite to specific
paragraphs, pages, and/or line numbers, the Court may require it to refile its
motion, brief, and exhibits.

       In addition to following the form instructions set out in Local Rule 56.1(B),
NDGa, a party responding to a statement of material facts shall copy into its
response document the numbered statement to which it is responding and provide
its response to that statement immediately following. Each party shall file these
documents in a text-searchable PDF format. 5 Statements of material fact that do
not conform with these instructions will be returned to counsel for revision.

            J.       Requests for oral argument on motions

       In accordance with Local Rule 7.1(E), motions are usually decided without
oral argument, but the Court will consider requests for hearing. If oral argument
is requested, the party or parties should specify the particular reasons argument
may be helpful to the Court and what issues will be the focus of the proposed
argument.




5   See supra n.4.
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          K.     Proposed orders

   The filing party shall include a proposed order granting the motion for all
consent, unopposed, or joint motions.

    IV.   TRIAL MATTERS 6

          A.     Motions in limine

      Motions in limine shall be filed with the Clerk no later than fourteen (14)
calendar days before trial. Responses to motions in limine shall be filed with the
Clerk no later than seven (7) calendar days before trial.

          B.     Pretrial conference

       The Court will conduct a pretrial conference in all cases (civil and criminal)
noticed for trial. For civil cases, only the attorneys (and not the parties) are
required to appear. For criminal cases, the Defendant is required to appear. Pro se
litigants are also required to appear at pretrial conferences and govern themselves
in accordance with these instructions.

      The purpose of the conference is to simplify the issues to be tried and to rule
on evidentiary objections raised in the pretrial order and motions in limine.

      At the pretrial conference (civil cases), counsel (or the pro se litigant) will be
required to identify the specific witnesses that will be called in the case-in-chief.

       The Court may require counsel (or the pro se litigant) to bring trial exhibits
to the pretrial conference in order to determine objections to said exhibits.

          C.     Presentation of evidence

     Attorneys and pro se litigants shall request permission to approach prior to
approaching a witness or the bench.




6 At the time a case is noticed for trial or at the request of a party or counsel, the Court
will issue a trial outline/overview, which will provide additional procedural
information.
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         D.     Exhibits

      Counsel (or the pro se litigant) shall separately and sequentially number each
of their exhibits. Exhibits shall not be labeled or grouped as categories, for
example, “hospital records” or “photographs.”

         E.     Jury trials

       When the jury is in the courtroom, it is the Court’s and the litigants’
responsibility to use the jury’s time efficiently. If matters need to be taken up
outside the presence of the jury, they should be raised during breaks or before the
start of the trial day. It is each party’s responsibility to have enough witnesses on
hand for each day’s proceedings.

                a.     Voir dire

       Proposed voir dire questions shall be filed with the Clerk no later than seven
(7) calendar days before the date of trial, if not previously filed as a part of the
pretrial order. The Court will review the submissions and notify the parties of the
approved questions at or prior to the pretrial conference.

       During voir dire, the Court will ask certain qualifying questions and request
the jurors to verbally respond to a printed juror questionnaire (containing general
questions regarding their residence, occupation, education, prior jury service, and
spouse, if applicable). The Court will then permit the attorneys to ask approved
voir dire questions for a period of twenty (20) minutes per side, per panel of
potential jurors.

       All challenges for cause will be heard at the close of the questioning of all
jurors.

       There will be a fifteen (15) minute break at the conclusion of juror
questioning in order to allow the attorneys time to review their notes prior to
striking the jury.

      In all criminal cases, twelve jurors will be selected, along with two alternates
who will not deliberate unless replacing another juror. If the attorneys desire
additional alternates, they shall notify the Court at the beginning of trial. The
Court will entertain arguments to this regard.


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       In all civil cases, eight jurors will be selected to deliberate for cases expected
to last one week or less. The Court will empanel additional jurors for cases
expected to last more than one week. The number of jurors to empanel will be
determined after receiving input from the parties. No alternates will be empaneled
for civil cases.

                 b.    Exhibits

      Arrangements with the Courtroom Deputy Clerk for the use of
demonstrative exhibits or other visual aids should be made sufficiently in advance
so that they may be set up while court is not in session.

      Exhibits must be examined and marked before trial in compliance with
Local Rule 16.4, NDGa. The parties should confer with the Courtroom Deputy
Clerk prior to the start of trial to determine how the Court will receive a copy of
the exhibits for use by the Judge on the bench during proceedings. Ordinarily, the
Court requests notebooks of exhibits to be provided on the first day of trial.

                 c.    Requests to charge

       Requests to charge shall be filed with the Clerk of Court no later than seven
(7) calendar days before the date of trial. An editable, electronic version of the
proposed charges (in Microsoft Word) shall be emailed to Ms. Wright on the same
day that the proposed charge is filed with the Clerk.

       These proposed jury charges shall be a single, unified set of proposed jury
instructions. The parties should first list all requested charges that are agreed
upon. After the agreed-upon instructions, the parties should list their requested
instructions to which opposing counsel objects. The parties should indicate (1)
who is proposing the instruction, (2) the legal basis for the instruction, and (3) the
basis for the other party’s opposition to the instruction.

       Counsel must use the latest edition of the Eleventh Circuit’s Pattern Jury
Instructions, if applicable. If there is no appropriate Eleventh Circuit charge,
counsel should use instructions from the latest edition of O’Malley’s Federal Jury
Practice and Instructions. If state law applies, counsel shall present the appropriate
pattern instruction from the applicable state. Counsel should be sure to include all
substantive law issues and should not assume that the Court has its own charge
on the substantive law.

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         F.     Specific Instructions for Criminal Cases

       All sentencing memoranda shall be filed at least forty-eight (48) hours prior
to the scheduled sentencing date.



      IT IS SO ORDERED this ________ day of September, 2021.



                                      ________________________________
                                      HONORABLE STEVE C. JONES
                                      UNITED STATES DISTRICT JUDGE




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